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                14      PIXELS.COM, LLC
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                                                  UNITED STATES DISTRICT COURT
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                                               CENTRAL DISTRICT OF CALIFORNIA
                18
                                                        WESTERN DIVISION
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                20
                        SID AVERY AND ASSOCIATES, INC. )           Case No. 2:18-cv-10232-CJC(JEMx)
                21      d/b/a MPTV IMAGES,             )
                                                       )           DEFENDANT PIXELS.COM,
                22                   Plaintiff,        )           LLC’S MOTION IN LIMINE TO
                                                       )           EXCLUDE EXPERT BONNIE
                23            v.                       )           ROWAN
                                                       )
                24      PIXELS.COM, LLC,               )           DATE: October 26, 2020
                                                       )           TIME: 3:00 p.m.
                25                                     )           JUDGE: The Honorable Cormac J.
                                     Defendant.        )                    Carney
                26                                     )           Trial Date: November 3, 2020
                                                       )
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MCBRAYER PLLC
 ATTORNEYS AT LAW




                                                                                            Motion in Limine
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                    1
                                                NOTICE OF MOTION AND MOTION
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                        TO PLAINTIFF AND ITS ATTORNEYS OF RECORD:
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                              PLEASE TAKE NOTICE THAT, on October 26, 2020 at 3:00 p.m., at the parties’
                    4

                    5
                        pretrial conference, Defendant Pixels.com, LLC will and hereby does submit this motion

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                        in limine for an order, pursuant to Federal Rules of Civil Procedure 26 and 37 and

                    7   Federal Rule of Evidence 702, precluding Plaintiff Sid Avery and Associates, Inc. d/b/a
                    8   MPTV Images from offering argument or eliciting evidence seeking to introduce the
                    9   testimony of Ms. Bonnie Rowan as an expert witness at trial.
                10            This motion is made following the meet and confer of counsel pursuant to L.R. 7-
                11      3, which took place on August 21, 2020.
                12            This motion is based on this Notice of Motion and Motion and the Memorandum
                13      of Points and Authorities contained herein, the pleadings and papers on file in this action,
                14      and the argument of counsel present at the hearing on the motion.
                15
                         DATED: August 28, 2020
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                17                                                                McBRAYER PLLC
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                19                                                                By:/s/ Bruce B. Paul
                                                                                       Bruce B. Paul
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                                                                                   Counsel for Defendant
                21                                                                 PIXELS.COM, LLC
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